    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 1 of 53




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            NEWNAN DIVISION


UNITED STATES OF AMERICA                :
                                        :     CRIMINAL INDICTMENT
             v.                         :
                                        :     3:16-cr-00003-TCB-RGV
TONIA WILLIAMS, et al.                  :


  MAGISTRATE JUDGE’S REPORT, RECOMMENDATION, AND ORDER

      On January 6, 2016, a federal grand jury in the Northern District of Georgia

returned a seventy-five count indictment against twenty-five defendants, all but one

of whom were correctional officers employed by the Georgia Department of

Corrections (“GDOC”), following an investigation by the Federal Bureau of

Investigation (“FBI”) during which the defendants allegedly accepted thousands of

dollars in bribe payments from a purported drug trafficker, who actually was an

undercover FBI confidential informant, in return for their assistance with and

protection of the delivery of multiple kilograms of sham cocaine and

methamphetamine, while wearing their GDOC uniforms. [Doc. 1].1 Defendant

Tonia Williams (“Williams”), one of those correctional officers, is charged with three

counts of attempted Hobbs Act extortion under color of official right, in violation of



      1
       The listed document and page numbers in citations to the record in this
Order and Report and Recommendation refer to the document and page numbers
shown on the Adobe file reader linked to the Court’s electronic filing database,
CM/ECF.
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 2 of 53




18 U.S.C. § 1951(a), and three counts of attempted distribution of cocaine and

methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C) and 846 and

18 U.S.C. § 2. [Doc. 1 at 12-14].

      Williams has filed a motion to dismiss the attempted Hobbs Act extortion

charges in counts 19, 21, and 23, [Doc. 276], and a motion to dismiss the prosecution

against her based on outrageous government conduct and, in the alternative, to

allow an entrapment defense, [Doc. 295], as well as a motion for a bill of particulars,

[Doc. 278], and a motion to reveal confidential informants, [Doc. 279], all of which

the government opposes, [Docs. 387, 399, 409, & 427].2 For the reasons that follow,


      2
         Williams also has filed a motion in limine and for severance of defendants
and counts, see [Doc. 277], in which she asserts that “if the government intends to
introduce the post arrest statements of non-testifying co-defendants in the trial of
Counts Eighteen through Twenty-Three, she is entitled to a severance pursuant to
Bruton v. United States, 391 U.S. 123 (1968) and its progeny[,] [o]r, in the alternative,
[she] moves in limine to exclude from admission any of her co-defendant’s, pre or
post arrest, statements which might violate Bruton, during the trial of her case,” [id.
at 4]. In her motion, Williams also asserts that “she should be severed from the trial
of the remaining officers charged in this case regarding the other sixty-nine []
[c]ounts in which she is not charged, because she is misjoined with those defendants
in those counts contrary to Rule 8(b) of the Federal Rules of Criminal Procedure.”
[Id.]. During a telephone conference held on August 29, 2016, the government
acknowledged that there is a potential Bruton issue with respect to co-defendants
Travonne Ferrell and Tacowan Fluellen, who are charged in four of the same counts
as Williams, and the government stated that it does not oppose Williams’ motion for
severance with respect to those counts in which she is charged with Travonne Ferrell
and Tacowan Fluellen if the Bruton issue remains at the time of trial. See [Doc. 424].
The government added that any potential Bruton issue with respect to co-defendant
Phoenicia Minor, who also is charged in two counts with Williams, no longer exists
since Phoenicia Minor entered a guilty plea on July 14, 2016. See [id.; Doc. 382].
Several other co-defendants have entered guilty pleas as well, and because Williams’

                                           2
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 3 of 53




Williams’ motion for a bill of particulars, [Doc. 278], is GRANTED IN PART and

DENIED IN PART, and her motion to reveal confidential informants, [Doc. 279], is

DENIED, and it is RECOMMENDED that her motion to dismiss counts 19, 21, and

23, and her motion to dismiss the prosecution against her, [Docs. 276 & 295], be

DENIED, and her alternative request to allow an entrapment defense is DEFERRED

to the District Judge.

                               I. INTRODUCTION

      The indictment charges that on or about February 26, 2015, March 6, 2015, and

March 13, 2015, Williams and other co-defendants named in the indictment

“believed they were providing protection to a high-level drug trafficker who was

transporting multiple grams of cocaine and methamphetamine in the Locust Grove

area, in the Northern District of Georgia, and elsewhere” and that in “exchange for

payment, [they] agreed to wear their GDOC uniforms, or carry indicia of their

statuses as GDOC officers, and accompany the purported drug trafficker while he

delivered purported narcotics to other purported drug traffickers, or personally




motion raises a potential Bruton issue that could impact the scheduling of trial for
the remaining defendants, her motion in limine and for severance of defendants and
counts, [Doc. 277], is hereby DEFERRED to the Honorable Timothy C. Batten, Sr.,
the United States District Judge assigned to this case. The Court also notes that other
defendants, including Tacowan Fluellen, Tramaine Tucker, and Jeremy Fluellen,
who have not entered guilty pleas, also initially filed motions to sever, see [Docs.
304, 311, & 315], but these motions have since been withdrawn, see [Docs. 420, 421,
& 423].

                                          3
     Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 4 of 53




transport the narcotics themselves.” [Id. at 3 ¶¶ 10-11, 11-14 ¶¶ 33-38]. The

indictment further charges that Williams, along with her co-defendants “believed

their uniformed presence would assist the drug trafficker with his transport of

narcotics by protecting the drug deals from law enforcement interdiction,” and that

they “assisted with the delivery of purported narcotics by placing them in waiting

vehicles at delivery locations in the Northern District of Georgia, or by assisting with

the placement of the narcotics,” all while in their GDOC uniforms or while carrying

indicia of their statuses as GDOC officers. [Id. at 3-4 ¶¶ 12-13]. The indictment

charges that Williams and her co-defendants accepted “thousands of dollars in bribe

payments from the purported drug trafficker” in return for their actions. [Id. at 4

¶ 14].

                                   II. DISCUSSION

A.       Motion to Dismiss Counts 19, 21, 23, [Doc. 276]

         Williams moves to dismiss counts 19, 21, and 23 of the indictment which

charge her with attempted Hobbs Act extortion under color of official right, in

violation of 18 U.S.C. § 1951(a). [Doc. 276]. Williams contends that these counts “do

not adequately allege the essential elements of an attempted Hobbs Act extortion

under color of official right, to wit: (1) the element of an ‘official act’; (2) the element

of an extorted ‘victim’; (3) the ‘quid pro quo’ component; (4) the inherent coercive

nature of [Williams’] act; and (5) the element of specific intent necessary for an


                                             4
     Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 5 of 53




attempt.” [Id. at 3 (emphasis omitted)]. Williams also asserts that these counts fail

to give her fair notice as to what she is called upon to defend, and to adequately

allege the essential facts constituting the offenses charged, and she further argues

that these counts “must be dismissed on the grounds of duplicity, because each

count impermissively [sic] combines two distinct offenses, i.e., the attempted

extortion by [] Williams, and a separate attempted extortion by her co-defendant,

each premised upon a separate and distinct agreement regarding an alleged

extortion with terms completely different to the other.” [Id. at 3-4 (citations

omitted)].     Williams also maintains that, even if these alleged defects in the

indictment do not require dismissal of these counts, “dismissal is warranted when

viewing all these defects and their cumulative prejudicial effect collectively.” [Id.

at 4].3

          In response, the government contends that “the Supreme Court’s framework

for determining ‘official acts,’ as recently set forth in McDonnell v. United States, 136

S. Ct. 2355, 2372 (2016), effectively establishes that a defendant who is alleged to

have worn her law enforcement uniform for the purpose of deterring other law

enforcement officers from investigating criminal wrongdoing would constitute an


        Alternatively, Williams moves the Court to grant her motion for a bill of
          3

particulars “so that she can clearly identify how the government contends she
violated the essential elements of the crimes charged against her; so as to avoid
unfair surprise, and enable her to adequately prepare for trial.” [Doc. 276 at 4].
Williams’ motion for a bill of particulars will be addressed separately hereinafter.

                                           5
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 6 of 53




‘official act,’ since it would be designed to exert pressure on another government

official regarding his or her formal exercise of government power.” [Doc. 387 at 5].

The government also argues that “the case law makes clear that Hobbs Act bribery

counts do not require the allegation of an extorted ‘victim’ outside the extortion

scheme, or an allegation that the official induced the payment of a bribe through

coercive conduct,“ [id.], and “the [i]ndictment repeatedly alleges a sufficient quid

pro quo that consists of Williams accepting cash bribe payments (the quid) in

exchange for wearing her GDOC uniform to protect drug deliveries (the quo),” [id.

(emphasis omitted)]. The government further asserts that “the [i]ndictment clearly

alleges intentional conduct sufficient to make out a criminal violation and thus is

more than sufficient to meet the pleading requirements set forth by Rule 7(c) of the

Federal Rules of Criminal Procedure.” [Id.].

      The government also disputes Williams’ contention that counts 19, 21, and 23

are duplicitous, arguing that “the doctrine barring duplicitous counts applies where

multiple offenses are charged against a single defendant in a single count, not where

one offense is charged against multiple defendants in a single count,” as in these

contested counts. [Id. at 5-6]. Finally, with respect to Williams’ contention that the

cumulative effect of the alleged deficiencies in the indictment deprives her of

adequate notice of the charges against which she must defend, the government

responds that “the introduction section of the [i]ndictment, which is incorporated


                                          6
     Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 7 of 53




by reference into each and every count of the [i]ndictment, makes the illegal quid pro

quo allegations against Williams crystal clear and certainly enough to withstand a

motion to dismiss under Rule 12(b) of the Federal Rules of Criminal Procedure.” [Id.

at 6].

         1.    Standard on Motion to Dismiss

         “‘In ruling on a motion to dismiss for failure to state an offense, a district court

is limited to reviewing the face of the indictment, and more specifically, the

language used to charge the crimes.’” United States v. Honeycutt, Criminal Action

No. 2:12-CR-00022-RWS, 2014 WL 2003029, at *4 (N.D. Ga. May 14, 2014), adopted

at *1 (emphasis omitted) (quoting United States v. Sharpe, 438 F.3d 1257, 1263 (11th

Cir. 2006)); see also United States v. Kopp, Criminal Action No. 1:12–CR–0269–RWS,

2014 WL 2154199, at *4 (N.D. Ga. May 21, 2014), adopted at *1, aff’d, 778 F.3d 986

(11th Cir. 2015) (alteration in original) (citation and internal marks omitted) (“It is

well-settled that a court may not dismiss an indictment . . . on a determination of

facts that should have been developed at trial.”). “‘Generally, an indictment is

sufficient if it: 1) sets forth the elements of the offense in a manner which fairly

informs the defendant of the charge against which [s]he must defend and 2) enables

[her] to enter a plea which will bar future prosecution for the same offense.’”4


        “[I]f the indictment tracks the language of the statute, it must be
         4

accompanied with such a statement of the facts and circumstances as will inform the
accused of the specific offense, coming under the general description, with which

                                              7
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 8 of 53




United States v. Germany, 296 F. App’x 852, 862 (11th Cir. 2008) (unpublished)

(internal citation omitted) (quoting United States v. Poirier, 321 F.3d 1024, 1028 (11th

Cir. 2003)). The Eleventh Circuit has held that “‘when analyzing challenges to the

sufficiency of an indictment, courts give the indictment a common sense

construction, and its validity is to be determined by practical, not technical,

considerations.’” Id. (internal citation omitted) (quoting Poirier, 321 F.3d at 1029).

Furthermore, “[i]f an indictment specifically refers to the statute on which the charge

was based, the reference to the statutory language adequately informs the defendant

of the charge.” United States v. Fern, 155 F.3d 1318, 1325 (11th Cir. 1998) (citation

omitted). “Similarly, if the facts alleged in the indictment warrant an inference that

the jury found probable cause to support all the necessary elements of the charge,

the indictment is not fatally deficient on Fifth Amendment grounds.” Id. (footnote

and citation omitted).

      2.     Attempted Hobbs Act Extortion

      Counts 19, 21, and 23 charge Williams with attempted Hobbs Act extortion

under color of official right, in violation of 18 U.S.C. § 1951(a). See [Doc. 1]. The


[s]he is charged.” United States v. Slawson, Criminal Case No. 1:14-CR-00186-RWS-
JFK, 2014 WL 5804191, at *5 (N.D. Ga. Nov. 7, 2014), adopted by 2014 WL 6990307,
at *1 (N.D. Ga. Dec. 10, 2014) (citations and internal marks omitted). And, “[i]n
judging the sufficiency of an indictment, courts are cautioned to use a broad and
enlightened standpoint of common sense and right reason rather than [a] narrow
standpoint of petty preciosity, pettifogging, technicality or hair splitting fault
finding.” Id. (second alteration in original) (citations and internal marks omitted).

                                           8
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 9 of 53




Hobbs Act makes it unlawful for anyone to attempt to obstruct, delay, or affect

commerce by, among other things, extortion. 18 U.S.C. § 1951(a). The statute

defines “extortion” as “the obtaining of property from another, with his consent,

induced by wrongful use of actual or threatened force, violence, or fear, or under

color of official right.” 18 U.S.C. § 1951(b)(2). To prove Hobbs Act extortion under

color of official right, the government must show: “(1) that a public official

[knowingly] obtained property from another in exchange for performance or

nonperformance of [her] official duties; and (2) that this extortionate activity affected

interstate commerce.” United States v. Adair, 951 F.2d 316, 318 (11th Cir. 1992)

(footnote and citation omitted).

      Williams argues that the contested counts are deficient with respect to several

elements of the charged offense of attempted Hobbs Act extortion, but many of her

arguments are unavailing at this stage of the proceedings where the “sufficiency of

a criminal indictment is determined from its face.” United States v. Salman, 378 F.3d

1266, 1268 (11th Cir. 2004) (per curiam) (citations omitted); see also Russell v. United

States, 369 U.S. 749, 791 (1962) (“There is no such thing as a motion for summary

judgment in a criminal case.”); United States v. Critzer, 951 F.2d 306, 307 (11th Cir.

1992) (per curiam) (“There is no summary judgment procedure in criminal cases.

Nor do the rules provide for a pre-trial determination of sufficiency of the

evidence.”). For the reasons that follow, the Court finds that the indictment


                                           9
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 10 of 53




adequately charges the essential elements of attempted Hobbs Act extortion, and

“the government is entitled to present its evidence at trial and have its sufficiency

tested by a motion for acquittal pursuant to Federal Rule of Criminal Procedure 29.”

Salman, 378 F.3d at 1268 (citation omitted).

      3.     Contested Counts

      Counts 19, 21, and 23 are substantially similar in that each count charges that

Williams and a co-defendant,5 both of whom were:

      [GDOC] officers at the time, attempted to affect, in any way and
      degree, commerce, and the movement of articles and commodities in
      commerce, knowingly by extortion, as those terms are defined in Title
      18, United States Code, Section 1951; that is, the defendants unlawfully
      obtained property from another, in the form of United States currency
      not otherwise due to them, with that person’s consent, in exchange for
      assisting with a purported drug transaction, said consent having been
      induced under color of official right, in violation of Title 18, United
      States Code, Section 1951(a).

[Doc. 1 at 12-14 ¶¶ 34, 36, 38]. The allegations in the introduction section of the

indictment are incorporated by reference into each of the counts, [id. at 4 ¶ 15], and

in relevant part, those allegations state:

      10. On the dates alleged herein, the defendants believed they were
      providing protection to a high-level drug trafficker who was
      transporting multiple kilograms of cocaine and methamphetamine in
      the Locust Grove area, in the Northern District of Georgia, and
      elsewhere.


      5
        The co-defendant in count 19 is Travonne Ferrell, the co-defendant in count
21 is Phoenicia Minor, and the co-defendant in count 23 is Tacowan Fluellen. [Doc.
1 at 12-13 ¶¶ 34, 36, 38].

                                             10
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 11 of 53




      11. In exchange for payment, the correctional officer defendants agreed
      to wear their GDOC uniforms, or carry indicia of their statuses as
      GDOC officers, and accompany the purported drug trafficker while he
      delivered purported narcotics to other purported drug traffickers, or
      personally transport the narcotics themselves. . . .

      12. The defendants believed their uniformed presence would assist the
      drug trafficker with his transport of narcotics by protecting the drug
      deals from law enforcement interdiction. Specifically, the defendants
      believed that if they were stopped by law enforcement while
      transporting the narcotics, the police would not search their vehicles
      because the defendants were wearing their GDOC uniforms or were
      carrying indicia of their statuses as correctional officers.

      13. In furtherance of the purported drug trafficking, the defendants,
      while in GDOC uniform, or while carrying indicia of their statuses as
      GDOC officers, assisted with the delivery of purported narcotics by
      placing them in waiting vehicles at delivery locations in the Northern
      District of Georgia, or by assisting with the placement of the narcotics,
      all while believing that the narcotics would be picked up by other drug
      traffickers.

      14. In return for their assistance with the purported drug trafficking,
      the defendants accepted thousands of dollars in bribe payments from
      the purported drug trafficker.

[Id. at 3-4 ¶¶ 10-14].

      4.     Analysis of Arguments

      The allegations of the indictment track the language of the statute, covering

every essential element of attempted Hobbs Act extortion, and include a statement

of facts that clearly provides Williams with adequate notice of the charges against

which she must defend. See generally [Doc. 1]. Williams complains that the

indictment does not adequately allege several elements of attempted Hobbs Act


                                         11
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 12 of 53




extortion, but many of her arguments stray beyond the proper scope of the Court’s

consideration in ruling on the sufficiency of the indictment. For example, Williams

asserts that her duties as a correctional officer were confined within the walls of

GDOC facilities and that discovery reflects that the condition that she wear her

uniform “was unilaterally added by the undercover government agent directing the

sting operation after she had agreed to participate.” [Doc. 276 at 10]. However,

these contentions concern matters of proof and whether the government can obtain

a conviction, not whether the indictment sufficiently charges attempted Hobbs Act

extortion. When measured against the appropriate standard, and giving the

indictment a common sense construction, the facts alleged in the contested counts

“warrant an inference that the jury found probable cause to support all the necessary

elements of the charge[.]” Fern, 155 F.3d at 1325 (footnote and citation omitted).

      Each of the contested counts specifically alleges that Williams “attempted to

affect, in any way and degree, commerce, and the movement of articles and

commodities in commerce, knowingly by extortion, as those terms are defined in

Title 18, United States Code, Section 1951,” in that she “unlawfully obtained

property from another, in the form of United States currency not otherwise due to

[her], with that person’s consent, in exchange for assisting with a purported drug

transaction, said consent having been induced under color of official right,” [Doc.

1 at 12-14 ¶¶ 34, 36, 38], and the allegations incorporated by reference from the


                                         12
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 13 of 53




introduction provide further details about the attempted Hobbs Act extortion

charges.

      A common sense and practical reading of the indictment reveals that Williams

is charged with accepting bribe payments in return for providing protection to an

individual she believed was a drug trafficker by wearing her GDOC uniform while

accompanying the would-be drug dealer as he transported and delivered purported

narcotics. The allegations of the indictment make it clear that Williams’ capacity as

a uniformed GDOC officer was essential to the quid pro quo arrangement she

allegedly had with the person she believed to be a drug trafficker as the indictment

specifically charges that “[i]n exchange for payment, the correctional officer

defendants agreed to wear their GDOC uniforms, or carry indicia of their statuses

as GDOC officers, and accompany the purported drug trafficker while he delivered

purported narcotics to other purported drug traffickers, or personally transport the

narcotics themselves.” [Id. at 3 ¶ 11]. The indictment further alleges that Williams

and her co-defendants “believed their uniformed presence would assist the drug

trafficker with his transport of narcotics by protecting the drug deals from law

enforcement interdiction.” [Id. at 3 ¶ 12]. As the government points out, the

Eleventh Circuit and other courts have repeatedly ruled that similar conduct

involving law enforcement officers providing assistance and protection to drug

dealers in return for bribes akin to that charged in the instant indictment falls within


                                          13
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 14 of 53




the ambit of the Hobbs Act. See Adair, 951 F.2d at 318 (affirming conviction for

Hobbs Act extortion under color of official right of police chief who provided police

protection for the shipment of illegal liquor in exchange for cash payments); United

States v. Glass, 709 F.2d 669, 671 (11th Cir. 1983) (per curiam) (affirming conviction

for Hobbs Act extortion under color of official right of sheriff who agreed to accept

payment for protection of sham drug shipment); see also United States v. Solomon,

766 F.3d 360, 361-63 (3d Cir. 2014) (affirming sentence of police chief convicted of

Hobbs Act extortion under color of official right who agreed to provide police

protection for sham FBI drug shipments by wearing his uniform and watching the

shipment from his police car); United States v. Carr, 303 F. App’x 166, 167 (5th Cir.

2008) (unpublished) (affirming sentence of officer convicted of Hobbs Act extortion

under color of official right for twice using his law enforcement position to escort

sham drug shipments); United States v. Partida, 385 F.3d 546, 551, 556-57, 561 (5th

Cir. 2004) (affirming convictions of law enforcement officers of Hobbs Act extortion

under color of official right where they used their patrol cars to escort sham drug

shipments).6


      6
        Williams’ appeal for application of the rule of lenity fails as well because the
“rule applies only when a criminal statute contains a ‘grievous ambiguity or
uncertainty,’ and ‘only if, after seizing everything from which aid can be derived,’
the Court ‘can make no more than a guess as to what Congress intended.’” Ocasio
v. United States, 136 S. Ct. 1423, 1434 n.8 (2016) (quoting Muscarello v. United States,
524 U.S. 125, 138–139 (1998)). While Williams is correct that the rule of lenity has
been applied to “ambiguous applications of the Hobbs Act,” [Doc. 276 at 12-13

                                          14
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 15 of 53




              a.     McDonnell

       The parties devote a substantial amount of their arguments to discussion of

the Supreme Court’s recent ruling in McDonnell, in which it clarified the meaning

of “official act” as defined in the federal bribery statute, 18 U.S.C. § 201. See [Doc.

387 at 5, 8-12; Doc. 405 at 3-13]. “Section 201(a)(3) defines an ‘official act’ as ‘any

decision or action on any question, matter, cause, suit, proceeding or controversy,

which may at any time be pending, or which may by law be brought before any

public official, in such official’s official capacity, or in such official’s place of trust or

profit.’” McDonnell, 136 S. Ct. at 2367. The Supreme Court explained:

       The text of § 201(a)(3) sets forth two requirements for an “official act”:
       First, the Government must identify a “question, matter, cause, suit,
       proceeding or controversy” that “may at any time be pending” or “may
       by law be brought” before a public official. Second, the Government
       must prove that the public official made a decision or took an action
       “on” that question, matter, cause, suit, proceeding, or controversy, or
       agreed to do so.

Id. at 2368. After evaluating the evidence presented at trial in view of this definition,

the Supreme Court vacated the bribery convictions of the former Virginia Governor

because the jury was not correctly instructed on the meaning of “official act,” and




(citation omitted)], for the reasons discussed, it is not evident from the face of the
indictment that this is such a case. Rather, the conduct charged in the indictment is
consistent with prior criminal prosecutions under the Hobbs Act where law
enforcement officers accepted bribe payments in return for providing assistance and
protection to drug traffickers.

                                             15
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 16 of 53




“it may have convicted Governor McDonnell for conduct that is not unlawful.” Id.

at 2375 (internal marks omitted).

      Although both the government and Williams claim that the McDonnell

decision supports their respective positions on the official action element of the

contested Hobbs Act extortion charges, the Court is not convinced that McDonnell

is dispositive of the pending motion to dismiss the indictment. First, “[t]he Supreme

Court did not hold that section 201(a)(3) of the federal bribery statute necessarily

had to be the source for the definition of official action for the purpose of defining

the ‘quo’ in the quid pro quo requirement of honest services fraud and extortion

under color of official right.” United States v. Silver, No. 15-CR-093 (VEC), 2016 WL

4472929, at *6 n.8 (S.D.N.Y. Aug. 25, 2016). Rather, the Supreme Court explained

that the parties in McDonnell “had agreed to use the definition of official act from

the federal bribery statute to define the ‘official action’ element of Hobbs Act

extortion and honest services fraud,” and “[i]n accordance with the parties’

agreement, the district court had quoted that definition in its charge to the jury.” Id.

(citation omitted). Hence, the erroneous jury instruction impacted all of the bribery

convictions. “Thus, it is not clear whether the definition of official action must—or

even should—come from the federal bribery statute in every honest services fraud

or extortion case.” Id.




                                          16
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 17 of 53




      The ruling in McDonnell also is not dispositive of the pending motion because

it did not concern the sufficiency of the charges in the indictment. Instead, the

Supreme Court vacated the bribery convictions due to an error in the jury

instructions. McDonnell, 136 S. Ct. at 2375. While the full import of McDonnell will

no doubt be debated and addressed at the trial of this case, at this stage of the

proceedings, the question before the Court is whether the indictment adequately

charges attempted Hobbs Act extortion under color of official right, and for the

reasons already discussed and those that follow, the undersigned finds that it does.7

             b.     “Official Action” and “Quid Pro Quo”

      Williams’ arguments about the “official action” and “quid pro quo” elements

are intertwined as she contends that since the indictment does not adequately allege

that she engaged in any official action, it necessarily fails to allege that there was any

quid pro quo. Specifically, Williams maintains that “the indictment fails to charge

[her] with any official action that is clearly established by settled or customary



      7
         Moreover, if the definition of “official action” in McDonnell does control, the
government persuasively argues that, considering only the allegations on the face
of the indictment, counts 19, 21, and 23 adequately charge official action because the
facts alleged in the introduction, which are incorporated by reference into these
counts, charge that Williams wore “her GDOC uniform for the specific purpose of
protecting drug deliveries from law enforcement interdiction on public roads.”
[Doc. 387 at 10]. The allegations are adequate to satisfy the two requirements for an
“official act” on a challenge to the sufficiency of the indictment as the allegations
identified a matter that may be brought before a public official and action that
Williams agreed to take and took on that matter.

                                           17
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 18 of 53




practice of her office.” [Doc. 276 at 18]. Consequently, she argues, “where a

payment is made in exchange for an official’s act outside the scope of her office

power, it cannot constitute the quid pro quo required by the Hobbs Act.” [Id. at 17

(citation omitted)]. The problem with Williams’ argument, as already discussed, is

that the indictment specifically alleges that she and each co-defendant in the

contested counts “unlawfully obtained property from another, in the form of United

States currency not otherwise due to them, with that person’s consent, in exchange

for assisting with a purported drug transaction, said consent having been induced

under color of official right,” [Doc. 1 at 12-14 ¶¶ 34, 36, 38], and the additional facts

alleged in the indictment that are incorporated by reference into these counts that

the defendants wore their GDOC uniforms while accompanying a purported drug

trafficker in return for bribe payments in order to provide protection from other law

enforcement officers, provide sufficient details to “warrant an inference that the jury

found probable cause to support” the “official action” and “quid pro quo” elements

of the charge, Fern, 155 F.3d at 1325.

             c.     “Victim” and “Coercion”

      Williams asserts that the indictment also fails to allege a “victim” of the

alleged extortion outside of the extortionate scheme or any coercive act on her part.

[Doc. 276 at 13-14, 19-20]. Williams complains that the indictment only alleges that

the defendants “unlawfully obtained property from another,” without identifying


                                           18
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 19 of 53




the alleged victim of the extortion while inferring that the government was the

victim. [Id. at 15 (internal marks omitted)]. Williams argues that “the indictment

recognizes that the government was not an innocent victim in the conduct alleged

and instead initiated and was a willing participant in the extortion activities set out

in the Hobbs Act counts of the indictment.” [Id. at 16]. Citing two cases in which

Hobbs Act convictions were overturned because the purported victims willingly

made the payments to the defendants and thus, were not extorted, Williams

maintains that the allegations of the indictment similarly fail to allege that there was

any actual victim of the extortion or coercion alleged in the indictment. [Id. at 15

(citing United States v. Capo, 817 F.2d 947 (2d Cir. 1987) (en banc); United States v.

Marchan, 32 F. Supp. 3d 753 (S.D. Tex. 2013))]. However, Williams’s arguments are

not persuasive.

      The indictment does not identify the alleged “victim” by name but makes

clear that Williams and her co-defendants allegedly accepted thousands of dollars

in bribe payments from a purported drug trafficker in return for providing

protection and assistance with purported drug trafficking. [Doc. 1 at 3-4 ¶¶ 10-14].

The detailed allegations of the indictment, [Doc. 1], along with discovery provided

by the government, see [Doc. 399 at 4, 6 n.3], sufficiently identify the purported drug

trafficker who made the payments to Williams and her co-defendants charged in the

Hobbs Act counts. Williams’ contention that there was no victim because the


                                          19
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 20 of 53




government initiated the transactions fails because acceptance of a bribe payment

by a public official in return for taking or refraining from taking official action

constitutes extortion under color of official right under the Hobbs Act, regardless of

who initiated the payment. Evans v. United States, 504 U.S. 255, 267-69 (1992) (an

affirmative act of inducement by a public official is not an element of the offense of

Hobbs Act extortion under color of official right); Glass, 709 F.2d 674. As the

government correctly points out, [Doc. 387 at 16], the public official need not

demand or induce the payments “because the coercive element is supplied by the

existence of the public office itself,” Adair, 951 F.2d at 318 (alteration, footnote,

citation, and internal marks omitted). Williams’ reliance on cases where Hobbs Act

convictions were overturned again is misplaced at this stage of the proceedings as

the allegations of the indictment adequately allege attempted Hobbs Act extortion

under color of official right since it is alleged that Williams received bribe payments

from a purported drug trafficker in return for the official action of wearing her

GDOC uniform to assist and protect the purported drug trafficker as he transported

and distributed the purported drugs. See id. (affirming conviction for Hobbs Act

extortion under color of official right of police chief who provided police protection

for the shipment of illegal liquor); Glass, 709 F.2d at 671 (affirming conviction for

Hobbs Act extortion under color of official right of sheriff who arranged protection

of sham drug shipment); see also Solomon, 766 F.3d at 360 (affirming sentence of


                                          20
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 21 of 53




police chief convicted of Hobbs Act extortion under color of official right who

agreed to provide police protection for sham FBI drug shipments by wearing his

uniform and watching the shipment from his police car); Carr, 303 F. App’x at 167

(affirming sentence of officer convicted of Hobbs Act extortion under color of official

right for twice using his law enforcement position to escort sham drug shipments);

Partida, 385 F.3d at 546 (affirming convictions of law enforcement officers of Hobbs

Act extortion under color of official right where they used their patrol cars to escort

FBI sham drug shipments).

             d.     Specific Intent

      Williams next argues that the indictment does not allege specific intent, which

is required for the attempt offenses charged in the Hobbs Act counts. [Doc. 276 at

20-21]. The government concedes that the words “specific intent” do not appear in

the indictment, but it argues that they are unnecessary “so long as the allegation that

the crime was committed with the requisite state of mind may be inferred from other

allegations in the indictment.” [Doc. 387 at 20 (internal marks omitted) (quoting

United States v. Gray, 260 F.3d 1267, 1283 (11th Cir. 2001))]. In United States v.

Resendiz–Ponce, 549 U.S. 102, 107 (2007), the Supreme Court considered “whether

the indictment was sufficient even though it did not specify the overt act that is an

essential element of all attempt crimes,” and “plainly stated that the word attempt

in an indictment ‘encompasses both the overt act and intent elements.’” United


                                          21
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 22 of 53




States v. Elk-Booth, 822 F. Supp. 2d 1089, 1092 (D. Mont. 2011), aff’d, 481 F. App’x

326 (9th Cir. 2012) (unpublished) (citation omitted). The Supreme Court accepted

the government’s argument that the indictment “implicitly alleged” the requisite

elements of the attempt offense by pointing to the relevant criminal statute and

identifying the date on which the defendant attempted the offense. Resendiz–Ponce,

549 U.S. at 107-08. Similarly, here, the indictment cites the relevant criminal statute

and specifically alleges that Williams attempted the offense of Hobbs Act extortion

under color of official right on the dates specified in the contested counts, and with

the additional facts alleged in the Introduction that are incorporated by reference

into these counts, the indictment sufficiently informs Williams of the elements of the

offense charged to satisfy the constitutional requirements for an indictment. Id.;

Elk-Booth, 822 F. Supp. 2d at 1092–93.

             e.     Duplicity

      Finally, Williams argues that counts 19, 21, and 23 must be dismissed because

they are duplicitous. [Doc. 276 at 21-25]. She asserts that each count combines “two

distinct crimes into one count: (1) the attempt extortion based upon the agreement

between [] Williams and the payor; and (2) a separate attempt extortion premised

upon the agreement between the co-defendant and the payor.” [Id. at 23-24]. Thus,

Williams contends that “each count improperly charges two distinct Hobbs Act

extortion offenses.” [Id. at 24]. The government responds that “Williams conflates


                                          22
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 23 of 53




separate offenses with separate violations of a single offense,” [Doc. 387 at 20], and

it argues that the contested counts are not duplicitous because they each only charge

one offense, and “Rule 8 specifically permits one or more defendant[s] to be charged

in a single count,” [id. at 22].

       “A duplicitous indictment charges two or more separate and distinct crimes

in a single count.” United States v. Burton, 871 F.2d 1566, 1573 (11th Cir. 1989) (per

curiam) (citation omitted). “Duplicity, if uncorrected, can lead to the conviction of

a defendant without unanimity among jurors respecting what offense has been

committed, to prejudice against a defendant in a later double jeopardy defense, and

to confusion respecting the admissibility of evidence.” United States v. Campbell,

No. 1:04–CR–0424–RWS, 2005 WL 6436621, at *7 (N.D. Ga. Oct. 24, 2005) (citation

omitted). However, duplicity is not usually fatal to an indictment, see United States

v. Robinson, 651 F.2d 1188, 1194 (6th Cir. 1981), and other courts have noted “that

the rules regarding duplicity are pleading rules and, as such, the defendant’s

remedy is to move to require the prosecution to elect the charge within the count

and that a duplicitous indictment is remediable by a jury instruction particularizing

the offense charged in each count,” United States v. James, 749 F. Supp. 2d 705, 711

(S.D. Ohio 2010), aff’d, 496 F. App’x 541 (6th Cir. 2012) (unpublished) (citation

omitted).   That is, generally, any confusion or risk of non-unanimity can be

appropriately addressed and eliminated by special interrogatories and careful jury


                                         23
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 24 of 53




instructions. See United States v. Davis, 306 F.3d 398, 416 (6th Cir. 2002); United

States v. Marshall, 75 F.3d 1097, 1111-12 (7th Cir. 1996); United States v. Pungitore,

910 F.2d 1084, 1136 (3d Cir. 1990).

      Contrary to Williams’ contention, the challenged counts are not duplicitous.

Rather, as the government asserts and Williams’ own argument acknowledges, each

count charges only one offense by Williams. See [Doc. 276 at 24; Doc. 387 at 20-23].

Each count includes a charge of attempted Hobbs Act extortion by the named co-

defendant on the same date that Williams is charged with attempted Hobbs Act

extortion, [Doc. 1 at 12-14 ¶¶ 34, 36, 38], but the joinder of two defendants in the

same count does not render the count duplicitous as Rule 8(b) specifically provides

that an “indictment . . . may charge 2 or more defendants if they are alleged to have

participated in the same act or transaction, or in the same series of acts or

transactions, constituting an offense or offenses.” Fed. R. Crim. P. 8(b). Thus,

Williams is not facing the risks of a conviction without unanimity among jurors

respecting what offense has been committed or prejudice in a later double jeopardy

defense that arise from a duplicitous indictment. Moreover, any concerns about

confusion respecting the admissibility of evidence can be adequately addressed with

an appropriate jury charge and verdict form. Accordingly, as with her other

arguments, Williams’ contention that the attempted Hobbs Act extortion counts




                                         24
     Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 25 of 53




should be dismissed as duplicitous is without merit,8 and it is RECOMMENDED

that her motion to dismiss counts 19, 21, and 23 of the indictment, [Doc. 276], be

DENIED.

B.     Motion to Dismiss Prosecution, [Doc. 295]

       Williams also moves to dismiss the prosecution against her on the grounds

that “the degree of governmental participation in the offenses charged in this

indictment went beyond mere entrapment and amounted to outrageous

governmental conduct[.]” [Doc. 295 at 17]. In the alternative, Williams moves to

assert the defense of entrapment. [Id. at 6-17]. The government responds that its

actions did not amount to outrageous conduct that warrants dismissal, [Doc. 409 at

5-10], and it maintains that any ruling regarding the viability of an entrapment

defense should be deferred to the District Judge for “determination at the time of

trial, after the relevant evidence has been presented regarding the government’s

agents’ inducement of Williams and her predisposition to commit the charged

crimes.” [Id. at 10-14].




       8
        Williams contends that, even if each of the alleged defects about which she
complains do not alone require dismissal of the contested counts, “dismissal is
warranted when viewing all these severe defects and their cumulative prejudicial
effect collectively.” [Doc. 276 at 25]. However, having rejected each of her alleged
defects in the indictment, there is no cumulative prejudicial effect, and this argument
is without merit.

                                          25
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 26 of 53




      1.     Dismissal Based on Outrageous Government Conduct

      In United States v. Russell, 411 U.S. 423 (1973), “the Supreme Court

recognized outrageous governmental conduct as a legal defense.” United States v.

Haimowitz, 725 F.2d 1561, 1577 (11th Cir. 1984). “‘Outrageous government conduct

occurs when law enforcement obtains a conviction for conduct beyond the

defendant’s predisposition by employing methods that fail to comport with due

process guarantees.’” United States v. Jayyousi, 657 F.3d 1085, 1111-12 (11th Cir.

2011) (citations omitted); see also United States v. Durham, 106 F. Supp. 3d 1301,

1306 (N.D. Ga. 2015) (citation omitted) (“Due process bars a conviction where ‘the

conduct of law enforcement agents is so outrageous that due process principles

would absolutely bar the government from invoking judicial processes to obtain a

conviction.’”). “Whether outrageous governmental conduct exists ‘turns upon the

totality of the circumstances with no single factor controlling’ and the defense ‘can

only be invoked in the rarest and most outrageous circumstances.’” Haimowitz, 725

F.2d at 1577 (quoting United States v. Tobias, 662 F.2d 381, 387 (5th Cir. Unit B

1981)9); see also United States v. Rolon, 445 F. App’x 314, 322 (11th Cir. 2011) (per

curiam) (unpublished) (citation omitted).       Indeed, “the conduct must be so

outrageous that it is fundamentally unfair.” United States v. Ciszkowski, 492 F.3d


      9
        In Stein v. Reynolds Sec., Inc., 667 F.2d 33, 34 (11th Cir. 1982), the Eleventh
Circuit adopted as binding precedent the post-September 30, 1981, decisions of Unit
B of the former Fifth Circuit.

                                          26
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 27 of 53




1264, 1270 (11th Cir. 2007) (citing United States v. Ofshe, 817 F.2d 1508, 1516 (11th

Cir. 1987)). “Conduct may be deemed outrageous if ‘the government instigates the

criminal activity, provides the entire means for its execution, and runs the entire

operation with only meager assistance from the defendant.’” Durham, 106 F. Supp.

3d at 1306 (quoting United States v. Puett, 735 F.2d 1331, 1335 (11th Cir. 1984)).

      Williams argues that the government’s conduct in this case was outrageous

because the government “created, engineered and controlled the scheme

constituting the basis of the instant prosecution,” essentially “present[ing] a

carefully designed plan of criminal acts, and defendants appear to have conformed

their conduct to execute it.” [Doc. 295 at 21-22 (citations omitted)]. In support of her

motion to dismiss based on outrageous government conduct, Williams cites

numerous cases, the majority of which are decisions from courts outside of this

circuit. See [id. at 17-23]; see also [Doc. 430 at 10 (citations and internal marks

omitted) (arguing “federal courts have repeatedly dismissed prosecutions or

reversed convictions on grounds of outrageous government conduct, where the

government engineered and directed the criminal enterprise from start to finish”

and citing cases from the Third and Ninth Circuits)]. However, as the government

correctly contends, since the Supreme Court recognized the outrageous

governmental conduct defense in 1973, no case has been dismissed by the Supreme

Court or the Eleventh Circuit based on a finding of outrageous government conduct.


                                          27
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 28 of 53




[Doc. 409 at 6 (citations omitted)]; see also United States v. Dixon, 626 F. App’x 959,

963 (11th Cir. 2015) (per curiam) (unpublished) (citations omitted) (“This Court has

yet to see government conduct that rises to the level of outrageousness required for

the defense to succeed.”); United States v. Sanchez, 138 F.3d 1410, 1413 (11th Cir.

1998) (citation omitted) (“While the Supreme Court and this Court have recognized

the possibility that government involvement in a criminal scheme might be so

pervasive that it would be a constitutional violation, that standard has not yet been

met in any case either before the Supreme Court or this Court.”); Durham, 106 F.

Supp. 3d at 1311 (citations omitted). In fact, as recently as 2014, the Eleventh Circuit

noted that it has “‘never acknowledged the existence of the outrageous government

conduct doctrine.’” United States v. Simmons, 557 F. App’x 833, 836 (11th Cir. 2014)

(per curiam) (unpublished) (quoting Jayyousi, 657 F.3d at 1111).

      Williams asserts that the fact that “no court in this Circuit has dismissed an

indictment based upon outrageous conduct in over 40 years, . . . does not mean that

there isn’t a legal basis for such an action to be taken by the court in this instance.”

[Doc. 430 at 14]. However, the Court “is not persuaded that the [g]overnment’s

actions in the instant case meet the definition of outrageous conduct.” United States

v. Hyatt, 904 F. Supp. 1351, 1354 (M.D. Fla. 1994). As the government argues, this

“case involves an undercover source working for the government who arranged to

have the defendants assist him with what they believed were drug transactions


                                          28
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 29 of 53




while wearing their correctional officer uniforms,” [Doc. 409 at 7 (citing [Doc. 1])],

and “challenges to th[is] reverse sting method of police investigation have been

rejected by this Court on numerous occasions,” [id. at 8 (citations and internal marks

omitted)]; see also Sanchez, 138 F.3d at 1413 (citations omitted). In support of its

argument, the government relies on Sanchez, and the Court agrees that this case is

instructive.

      In Sanchez, “the Bureau of Alcohol, Tobacco, and Firearms (ATF) received

information from a confidential informant about a group of armed home invaders

who would ‘rip-off’ narcotics from stash houses.” 138 F.3d at 1412. The “ATF

agents contacted individuals suspected of being involved in home invasions,” and

“defendants voluntarily agreed to participate” after being informed “by these

individuals that large amounts of narcotics could be stolen in a home invasion.” Id.

at 1413-14. The Eleventh Circuit found that the “conduct of the government here

[did] not approach that demonstrable level of outrageousness the case law suggests

would be necessary for reversal of these defendants’ convictions,” reasoning that

“defendants were involved without any instigation from the government[,] [t]hey

only had contact with the government agent after they had already agreed to

participate,” and “[t]he availability of defendants, their weapons, and vehicles was

not the result of any governmental activity.” Id. at 1414.




                                         29
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 30 of 53




      Williams contends that Sanchez does not apply because “the government

received no prior information suggesting [she] had ever engaged in criminal activity

by introducing contraband into the prisons where she worked,” but that the

government nevertheless enticed her into participation in criminal activity. [Doc.

430 at 13].   However, the government asserts that although the confidential

informant did initially receive information about prison guards who were willing

to accept bribes, [Doc. 409 at 9], and while Williams may not have been specifically

named in the initial information, she was thereafter recruited, not by the confidential

informant, but by a co-defendant, and she also subsequently recruited other prison

guards to join in the criminal conduct, [id. at 8]; see also Haimowitz, 725 F.2d at 1577

(noting defendant was brought into the scheme by a co-defendant, not by the

government). And, even if, as Williams alleges, the government, through the

confidential informant, targeted her by having a co-defendant offer economic

enticement, [Doc. 295 at 4], the government’s provision of an opportunity to

participate in criminal activity does not constitute a violation of due process, see

Hyatt, 904 F. Supp. at 1354 (citation omitted); see also United States v. Savage, 701

F.2d 867, 870 (11th Cir. 1983) (rejecting defendants’ argument that they were

targeted as they were “merely caught in the trap the government set for those who

were willing to take the bait,” and finding “nothing outrageous in the government’s

activity”).   “The Eleventh Circuit was unpersuaded that the [g]overnment’s


                                          30
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 31 of 53




invitation to participate in a crime rose to the level of misconduct, and this Court is

equally unpersuaded.” Durham, 106 F. Supp. 3d at 1307 (rejecting arguments that

the crime was “wholly instigated by the [g]overnment”).              Thus, Williams’

availability for the crimes charged, her alleged recruitment of two other prison

guards, and her alleged participation in sham drug transactions “was the result of

[her] activity, not the [g]overnment’s.” Id.

      Williams also contends that the “government orchestrated everything.” [Doc.

430 at 13-14]. In particular, she asserts that it “provided the faux drugs[,] the

money[,] and the vehicles the defendants used to transport and deliver the

purported drugs to the Walmart parking lot.” [Id. at 14]. However, “government

infiltration of criminal activity is a ‘recognized and permissible means of

investigation’ . . . ‘even though the government agent supplies something of value

to the criminal.’” Tobias, 662 F.2d at 386 (citations omitted). “The fact that

government agents may supply . . . illegal drugs or provide other essential services

does not necessarily constitute misconduct.” Sanchez, 138 F.3d at 1413 (citation

omitted). Williams and the other charged correctional officers are alleged to have

supplied their uniformed presence to assist and protect the transportation of the

drugs. Thus, Williams has failed to show that the government “ran the entire

operation with only meager assistance from the defendants.” Tobias, 662 F.2d at 386

(citation omitted).


                                          31
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 32 of 53




      Williams’ arguments “boil down to the assertion that the [g]overnment lured

[her and the other defendants] into involving [them] in a purported [drug trafficking

scheme],” but “such allegations fall[] far short of the outrageous and shocking

government conduct required to establish a due process violation demanding

dismissal.” Durham, 106 F. Supp. 3d at 1307; see also id. (footnote, citation, and

internal marks omitted) (“[G]overnment luring does not itself create an outrageous

government conduct defense.”). The Court notes that “throughout this situation

[Williams] could have merely declined when approached about becoming involved

in an illegal scheme,” but she was offered money, and she allegedly “committed

these crimes because [she] wanted to receive the money.” Hyatt, 904 F. Supp. at

1354. Thus, “the responsibility for the exercise of [her] judgment must lie with

[her].” Id. “Without binding precedent that actually establishes the existence of the

outrageous government conduct defense–or precedent that directly forbids the kind

of reverse sting operation used here–[Williams’] . . . argument cannot succeed.”

Dixon, 626 F. App’x at 963 (emphasis and citation omitted). Accordingly, it is

RECOMMENDED that Williams’ motion to dismiss the prosecution based on

outrageous government conduct, [Doc. 295], be DENIED.10


      10
        Williams has requested a hearing on this motion, see [Doc. 295 at 23], but
“without sufficient factual allegations to support an outrageous-government-
conduct defense, the Court need not hold an evidentiary hearing on the issue,”
United States v. Galvis-Pena, Criminal Action File No. 1:09-cr-25-TCB-CCH-4, 2012
WL 425240, at *5 (N.D. Ga. Feb. 9, 2012) (citation omitted). Moreover, Williams’

                                         32
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 33 of 53




       2.     Entrapment Defense

       Williams argues, in the alternative, that she is entitled to a defense of

entrapment. [Doc. 295 at 6-17]. The government responds that this argument is

premature and should be deferred to the District Judge to be decided at trial. [Doc.

409 at 1, 10-14].

       “The entrapment defense involves two separate elements: (1) [g]overnment

inducement of the crime, and (2) lack of predisposition on the part of the

defendant.” United States v. Isnadin, 742 F.3d 1278, 1297 (11th Cir. 2014) (emphasis

and citations omitted). The “‘defendant bears the initial burden of production as to

the government inducement; once the defendant meets this burden, the burden

shifts to the government to prove beyond a reasonable doubt that the defendant was

predisposed to commit the crime.’” United States v. Sistrunk, 622 F.3d 1328, 1333

(11th Cir. 2010) (quoting United States v. Ryan, 289 F.3d 1339, 1343 (11th Cir. 2002)

(per curiam)). “A defendant can show inducement by [] producing evidence

sufficient to create a jury issue ‘that the government’s conduct created a substantial

risk that the offense would be committed by a person other than one ready to

commit it.’” United States v. Toussaint, 627 F. App’x 810, 814 (11th Cir. 2015) (per


arguments “regarding outrageous governmental conduct raise questions that are
intermeshed with questions going to the merits of the case because they would
require proof of the criminal conduct alleged in the indictment. Therefore, they are
not capable of resolution without a ‘trial of the general issue’ under Fed. R. Crim. P.
12(b)(2).” Id. (footnote omitted).

                                          33
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 34 of 53




curiam) (unpublished) (quoting United States v. Brown, 43 F.3d at 618, 623 (11th Cir.

1995)). “The defendant meets this burden if [s]he produces evidence that the

government’s conduct included some form of persuasion or mild coercion.” Id.

(citation omitted). “Predisposition may be demonstrated [] by a defendant’s ready

commission of the charged crime” or “by evidence that the defendant was given

opportunities to back out of illegal transactions but failed to do so.” Isnadin, 742

F.3d at 1298 (internal citations omitted) (quoting Brown, 43 F.3d at 625).

      Williams asserts that she is entitled to the defense of entrapment because she

was induced by the government and she was not predisposed to commit the

charged offenses. [Doc. 295 at 6-17]. In particular, Williams claims that she was

lured into the commission of the crimes charged with the promise of money and

other benefits, that she initially declined to participate, that the government made

repeated attempts to persuade her, and that the cumulative effect of the

government’s tactics was much more than mere suggestion. [Doc. 295 at 7-15; Doc.

430 at 2-5]. Williams also asserts that “there is zero history of [her] predisposition

to distribute drugs prior to the government’s substantial effort to entice her to

participate in the charged offenses.” [Doc. 295 at 16]. The government argues that

Williams’ motion to assert an entrapment defense is premature, [Doc. 409 at 1], and

the Court agrees.




                                         34
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 35 of 53




      “A defense of entrapment is generally not appropriate at the pretrial stage

because it is a fact intensive inquiry.” United States v. McGill, No. 1:14-cr-167-WSD,

2014 WL 4829303, at *5 (N.D. Ga. Sept 29, 2014), adopted at *3, aff’d, 634 F. App’x

234 (11th Cir. 2015) (per curiam) (unpublished) (citations omitted). “An entrapment

defense is a question for the jury, unless the evidence is so clear and convincing that

it may be ruled on by a trial judge as a matter of law.” Id. (citation omitted); see also

Brown, 43 F.3d at 622 (citation omitted) (“Entrapment is generally a jury question.”).

“Accordingly, entrapment is not an appropriate issue to consider in a pre-trial

motion to dismiss the indictment.” McGill, 2014 WL 4829303, at *5 (citing United

States v. Freed, 401 U.S. 601, 607 (1971)); see also United States v. Williams, No. 6:13-

cr-26-Orl-36TBS, 2014 WL 117091, at *4 (M.D. Fla. Jan. 13, 2014) (citing United States

v. Gates, 351 F. App’x 362, 366 (11th Cir. 2009) (per curiam) (unpublished); United

States v. Miller, 71 F.3d 813, 815 (11th Cir. 1996); Brown, 43 F.3d at 622) (“[W]hile a

court may conclude that the evidence is such that a reasonably jury must find that

the defendant was entrapped as a matter of law, such a determination is made after

the court has heard the evidence at trial, not upon a pretrial motion to dismiss before

the evidence has been presented.”).         As the government correctly contends,

“Williams has not cited a single case in this Circuit, and the Court is unaware of one,

where a court has found entrapment as a matter of law before the case has even




                                           35
     Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 36 of 53




gone to trial.” Williams, 2014 WL 117091, at *4; see generally [Docs. 295 & 430].11

Accordingly, Williams’ motion to allow an entrapment defense, [Doc. 295], is

DEFERRED to the District Judge.

C.     Motion for Bill of Particulars, [Doc. 278]

       Williams has filed a motion for a bill of particulars, [Doc. 278], in which she

requests particulars with regard to several counts of the indictment, which may be

summarized as follows:

       (a) where, including the locations and jurisdictions within the district
       and elsewhere, the criminal conduct that she is alleged to have
       participated in occurred;

       (b) how she along with other named defendants were “aided and
       abetted by one another”;12


       11
         Williams cites United States v. Graves, 556 F.2d 1319 (5th Cir. 1977), in
support of her assertion that a claim of entrapment does not present a jury question
and it is proper for a court to entertain her pretrial motion. See [Doc. 430 at 6-7].
However, in Graves, the court noted that defendants’ “motion presented the
question whether this conduct violated due process principles, as suggested in
Russell, to such an extent that judicial processes could not be invoked against them,”
and it found that “[s]ince their defense was predicated entirely on alleged
governmental misconduct, and not upon the subjective predisposition of the
[defendants], it was an appropriate question for the court to resolve on a pretrial
motion.” 556 F.2d at 1322. Here, Williams has argued both that the government
induced her and that she was not predisposed to commit the crimes. See generally
[Docs. 295 & 430]. Thus, Williams’ reliance on Graves is misplaced. Decisions of the
Fifth Circuit rendered before October 1, 1981, are binding precedent in the Eleventh
Circuit. Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc).
       12
            In particular, Williams seeks the following:

       1.       Does the government allege that Defendant Tonia Williams

                                            36
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 37 of 53




      (c) who was the alleged victim of extortion, who owned the property
      or United States currency, who provided consent, and what are the
      facts supporting that consent was induced by Williams under color of
      official right;

      (d) what conduct Williams is alleged to have engaged in during the
      alleged Hobbs Act violations and the amount obtained by Williams
      and/or attributable to her conduct for the official act as opposed to her
      agreement to transport drugs;

      (e) what are the facts supporting the allegations that the acts of
      extortion affected or would have affected interstate commerce;

      (f) provide the police reports for any random traffic stop of targeted
      guards transporting the sham contraband during the undercover
      operation;

      (g) which of the prison guards that were recruited by the government
      were propositioned to engage in sexual relations by the government’s
      confidential informant; which recruits actually engaged in a sexual
      relationship with the confidential informant; and what other offers of
      remuneration were made by the confidential informant to the recruited
      prison guards; and

      (h) which of the recruited prison guards named in the indictment
      initially refused to participate in bringing contraband into the prison



             agreed to assist the co-defendant named in those Counts to
             commit the charged crime? Or in the alternative, the co-
             defendant named therein allegedly agreed to assist Tonia
             Williams to commit the attempted drug distribution?

      2.     By which one(s) of the six means possible did Tonia Williams (or
             the named co-defendant) allegedly violate 18 U.S.C. § 2. Was it
             by aiding, abetting, counseling, commanding, inducing, or
             procuring one another to participate in the offenses charged?

[Doc. 278 at 8].

                                         37
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 38 of 53




      and/or transporting drugs or other contraband outside the prison
      walls.

[Doc. 278 at 6-11].

       In its response, the government states that, with respect to request (a),

“elsewhere” was used in the indictment because “most of the defendants, including

Williams, lived in the Southern District of Georgia, and therefore likely

communicated with the FBI’s source via recorded phone calls and text message[s]

that may have originated outside the Northern District of Georgia.” [Doc. 427 at 6-

7]. With respect to request (c), the government has identified the “‘victim’ of the

Hobbs Act extortion in this case [as] the government’s [confidential informant]” and

that the confidential informant “clearly paid the bribes using government funds as

part of a covert FBI investigation,” [id. at 7], and with respect to request (f), the

government states that it is aware of only one “traffic stop by law enforcement not

associated with the FBI’s investigation” based on “recent proffer statements of a

cooperating defendant to whom this happened” that have already been provided

to Williams, [id. at 8]. The government contends that the remaining requests for

particulars enumerated in Williams’ motion are not proper subjects of a bill of

particulars because the indictment and the discovery materials produced to her

already provide sufficient detail to allow her to prepare her defense and the requests

seek discovery of the government’s trial strategy. [Id. at 6-10].



                                         38
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 39 of 53




      Rule 7(f) of the Federal Rules of Criminal Procedure provides that the Court

“may direct the government to file a bill of particulars.” Fed. R. Crim. P. 7(f). “The

purpose of a true bill of particulars is threefold: ‘to inform the defendant of the

charge against [her] with sufficient precision to allow [her] to prepare [her] defense,

to minimize surprise at trial, and to enable [her] to plead double jeopardy in the

event of a later prosecution for the same offense.’” United States v. Reddy, Criminal

Action File No. 1:09-CR-0483-ODE/AJB, 2010 WL 3210842, at *5 (N.D. Ga. Apr. 5,

2010), adopted as modified by 2010 WL 3211029, at *1 (N.D. Ga. Aug. 11, 2010)

(quoting United States v. Cole, 755 F.2d 748, 760 (11th Cir. 1985)); see also United

States v. Colson, 662 F.2d 1389, 1391 (11th Cir. 1981); United States v. Zellner,

Criminal Indictment No. 1:09-CR-320-TCB-GGB, 2011 WL 530718, at *9 (N.D. Ga.

Jan. 14, 2011), adopted by United States v. Chester, Criminal Action File No.

1:09-cr-320-TCB-GGB, 2011 WL 529952, at *1 (N.D. Ga. Feb. 4, 2011). Generalized

discovery is not a valid reason for seeking a bill of particulars, Colson, 662 F.2d at

1391; United States v. Davis, 582 F.2d 947, 951 (5th Cir. 1978), and “[a] bill of

particulars may not be used for the purpose of obtaining detailed disclosure of the

government’s case or evidence in advance of trial,” Zellner, 2011 WL 530718, at *9

(citation omitted). Further, a defendant is not entitled to a bill of particulars

describing information which is already evident from other sources, such as

elsewhere in the indictment or in discovery. United States v. Rosenthal, 793 F.2d


                                          39
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 40 of 53




1214, 1227 (11th Cir. 1986), modified on other grounds by, 801 F.2d 378 (11th Cir.

1986); see also Reddy, 2010 WL 3210842, at *5.

      The government maintains that it has provided “voluminous discovery,” and

with regard to Williams’ request for the exact locations of the criminal conduct, the

government asserts that she “already has this information” as “each of the

transactions that constitute the offense conduct for the Hobbs Act extortion and drug

trafficking counts were documented in FBI reports, already provided in discovery,

[that] provide the precise addresses within the Northern District of Georgia where

the bribe payments and sham drug deals occurred.” [Doc. 427 at 6]. As for the

amount of bribe payments and the official act, the government again asserts that this

information is already available to her as “the FBI reports produced in discovery

explicitly specify the amount of each cash bribe payment received by each defendant

for each of the sham drug transactions that form the basis of each Hobbs Act count”

and that “both the indictment and the discovery make clear that the official act for

each Hobbs Act count was always the same: ‘In exchange for payment, the

correctional officer defendants agreed to wear their GDOC uniforms, or carry indicia

of their statuses as GDOC officers.’”13        [Id. at 7-8 (citation omitted)].    The


      13
          Williams asserts that the fact that the “individual officers were paid, simply
does not answer the question as to whether there was an actual ‘quid pro quo’ for
the alleged ‘official act’ of wearing the GDOC uniform–an essential element of the
Hobbs Act violation.” See [Doc. 435 at 6-7]. Williams points out that in her motion
for a bill of particulars she “asked the government to specify the additional amount

                                          40
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 41 of 53




government also asserts that “every meeting, phone call, or text message between

the [confidential informant] and any of the 25 defendants in this case was recorded,

preserved, and produced in discovery” and that Williams therefore already has the

information regarding which defendants were sexually propositioned or offered

other incentives by the confidential informant and which defendants initially


of United States currency allegedly paid to her and/or attributable to her conduct
for the ‘official act’; as opposed to, the amount paid to her as per the original bargain
wherein she agreed to transport drugs for money,” which Williams contends was
“an agreement that was made before the [confidential informant] unilaterally added
the wearing of the uniform requirement to the scheme.” [Id. at 7 (emphasis
omitted)]. In this respect, Williams argues that “if the government cannot return
particulars as to what additional payment[] or establish that said payment was
demanded as a condition precedent to her participating in the scheme, then the
Hobbs Act counts must be dismissed due to the government’s failure to allege the
‘quid pro quo’ element of the Hobbs Act offenses charged.” [Id.]. However, as
previously discussed with respect to her motion to dismiss counts, these contentions
concern matters of proof and whether the government can obtain a conviction, but
not whether the indictment sufficiently charges Williams with attempted Hobbs Act
extortion. The indictment specifically charges that “[i]n exchange for payment the
correctional officer defendants agreed to wear their GDOC uniforms, or carry indicia
of their statuses as GDOC officers, and accompany the purported drug trafficker
while he delivered purported narcotics to other purported drug traffickers, or
personally transport the narcotics themselves.” [Doc. 1 at 3 ¶ 11]. And, the
government states that the discovery provided to Williams “explicitly specif[ies] the
amount of each cash bribe payment.” [Doc. 427 at 7-8]. This is sufficient to allow
her to prepare her defense, to minimize surprise at trial, and to enable her to plead
double jeopardy if she is later prosecuted for the same offense. See United States v.
Baitcher, Criminal Action File No. 1:11-CR-536-SCJ-AJB, 2013 WL 1501462, at *1
(N.D. Ga. Mar. 22, 2013), adopted by 2013 WL 1501454, at *1 (N.D. Ga. Apr. 11, 2013)
(quoting Cole, 755 F.2d at 760) (“The purpose of a bill of particulars is threefold: ‘to
inform the defendant of the charge against him with sufficient precision to allow
him to prepare his defense, to minimize surprise at trial, and to enable him to plead
double jeopardy in the event of a later prosecution for the same offense.’”). Thus,
Williams’ argument is without merit.

                                           41
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 42 of 53




refused to participate.14 [Id. at 8-9]. Thus, the Court finds that Williams’ requests

contained in (a), (d), (g), and (h) are without merit since that information is already

available to her in the discovery material. Rosenthal, 793 F.2d at 1227 (citation

omitted) (noting defendant not entitled to bill of particulars “with respect to

information that is already available through . . . the indictment or discovery and

inspection”); see also Colson, 662 F.2d at 1391; United States v. Leiva-Portillo, No.

1:06-CR-350-WSD, 2007 WL 1706351, at *14-15 (N.D. Ga. June 12, 2007) (denying

motion for bill of particulars where the government represented that it had provided

extensive discovery materials to defendant that were responsive to the requests

made and that discovery information “sufficiently advise[d] [d]efendant of the

specific conduct for which [he] is being prosecuted”).15



        The government additionally provides that “the impeachment information
       14

sought by Williams regarding any defendant’s sexual relations with the [confidential
informant] is simply non-existent.” [Doc. 427 at 9].
       15
         In her reply in support of her motion for a bill of particulars, Williams
asserts that it “is not a sufficient response to a motion for a bill of particulars to point
to the voluminous discovery already provided.” [Doc. 435 at 9 (citations and
internal marks omitted)]. Williams cites cases from other circuits in support of her
assertion, see [id. (citations omitted)]; however, as stated, the Eleventh Circuit has
held that a defendant is not “entitled to a bill of particulars with respect to
information which is already available through other sources such as the indictment
or discovery and inspection.” Rosenthal, 793 F.2d at 1227 (citing Colson, 662 F.2d
at 1391); see also United States v. Melvin, 143 F. Supp. 3d 1354, 1383 (N.D. Ga. 2015)
(agreeing with the magistrate judge that defendant’s requests were “either already
covered by the allegations contained in the indictment and the information provided
in discovery, or they are beyond the proper scope of a bill of particulars”); Slawson,
2014 WL 5804191, at *12 (citations omitted); United States v. Smallwood, Criminal

                                            42
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 43 of 53




      Williams’ request (e), that the government provide the facts supporting the

allegations that the acts of extortion affected or would have affected interstate

commerce, is likewise beyond the proper scope of a bill of particulars. As the

government correctly contends, “Williams is improperly seeking to uncover the

government’s trial strategy.” [Doc. 427 at 10]. Indeed, the government “is not

required to include in the indictment every potential legal theory it may have as to

how the [extortion] . . . affects commerce within the meaning of the Hobbs Act.”

United States v. Grant, Criminal Action No. 1:13cr107-MHT, 2013 WL 6080052, at *3

(M.D. Ala. Nov. 19, 2013), adopted at *1. Nevertheless, the government points out

that “the commerce nexus for an attempt or conspiracy under 18 U.S.C. § 1951 can

be shown by evidence of a potential impact on commerce or by evidence of an

actual, de minimus impact on commerce,” [Doc. 427 at 10 (emphasis omitted) (citing

United States v. Kaplan, 171 F.3d 1351, 1354-58 (11th Cir. 1999))], and that the

Supreme Court has held that the “‘production, possession, and distribution of

controlled substances constitute a ‘class of activities’ that in the aggregate

substantially affect commerce,’” [id. (quoting Taylor v. United States, 136 S. Ct. 2074,

2080 (2016))]. Because the indictment sets forth specific acts that the government

asserts affected commerce, “a more precise bill of particulars is not necessary to


Action File No. 1:13-cr-381-1-TCB, 2014 WL 3519195, at *25 (N.D. Ga. July 16, 2014),
adopted at *1 (citation omitted). Thus, the Court finds Williams’ argument
unavailing.

                                          43
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 44 of 53




supply [Williams] with that information for the preparation of [her] defense or to

minimize surprise at trial.” Grant, 2013 WL 6080052, at *3 (citation omitted). “Thus,

a motion for a bill of particulars is not an appropriate vehicle to compel the

[g]overnment to provide a legal brief and detailed factual exposition as to how

exactly it intends to establish that the [acts of extortion] constitute[] a ‘minimal

effect’ on commerce.” Id. (citation omitted).

      Finally, with respect to Williams’ request (b) that the government detail and

clarify the meaning of the aiding and abetting allegations contained in counts 18, 20,

and 22, the government argues that this request is improper because it seeks the

government’s trial strategy, but also responds that Williams was “both a recipient

and provider of assistance to her co-defendants since she worked jointly with them

to protect the sham drug transactions while in their prison guard uniforms.” [Doc.

427 at 9 (emphasis omitted)]. In her reply in support of her motion, Williams argues

that “the government’s contention is clearly belied by the discovery in this case.”

[Doc. 435 at 4]. In particular, Williams understands from the discovery that

“Travonne Ferrell allegedly aided and abetted her by recruiting her into engaging

in the sham drug transactions” and that “she is charged with aiding and abetting co-

defendants Minor and Fluellen by recruiting them,” but she responds that, contrary

to the government’s response, “nothing in the indictment or the discovery indicates

or establishes the aiding and abetting theory the other way around,” and that the FBI


                                         44
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 45 of 53




reports, provided in discovery, in fact, “clearly demonstrate that at each occasion of

the alleged drug transaction [Williams] and her co-defendants acted separately and

on their own behalf, as opposed to ‘jointly.’” [Id. at 4-5]. Based on the arguments

regarding this request, it appears that the discovery has not provided Williams

sufficient clarity as to the essential facts surrounding the aiding and abetting

allegations given the multiple co-defendants and their relative roles in the offenses

beyond who recruited whom, [id.], and to the extent the government contends that

the aiding and abetting involved more than mere recruitment, as it appears to argue,

[Doc. 427 at 9], it is ORDERED to direct Williams to the places in the discovery

where the essential facts surrounding the aiding and abetting allegations are

disclosed, within fourteen (14) days of the entry of this Order, and to the extent the

essential facts have not been disclosed in discovery, the government is ORDERED

to provide Williams with a bill of particulars detailing the aiding and abetting

allegations in counts 18, 20, and 22, within twenty-one (21) days of the entry of this

Order. See United States v. Menjivar, Criminal Action No. 1:10-CR-86-11-RWS-ECS,

2011 WL 10647325, at *1 (N.D. Ga. Nov. 29, 2011), adopted by 2013 WL 2112210, at

*2 (N.D. Ga. May 14, 2013). Accordingly, Williams’ motion for a bill of particulars




                                         45
     Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 46 of 53




is GRANTED IN PART with respect to providing the particulars of the aiding and

abetting allegations in the manner stated, but DENIED in all other respects.16

D.     Motion to Reveal Confidential Informants, [Doc. 279]

       Williams has moved for disclosure of the names and location of confidential

informants in this case. [Doc. 279]. Specifically, Williams seeks to know the “precise

number, identity and present location of informants or co-operating individuals

utilized in the investigation of this case, who have actively participated in any of the

acts forming the basis for the above-styled indictment. [Id. at 1]. Williams also

seeks the “specifics of any deals, payments, agreements, incentives and

remuneration which the government or any agent on the government’s behalf has



       16
          In her reply in support of the motion for a bill of particulars, Williams
moves to preclude the government from varying the responses it provided in its
response to her motion. [Doc. 435 at 2]. Specifically, she seeks an order precluding
the government from varying its responses to her requests for the location of the
charged offenses, victim of extortion, traffic stops, and sexual propositions. [Id. at
2-4]. However, the government’s response demonstrated, and Williams has not
contested, see [id.], that the particulars sought on these topics are available through
the discovery materials, and thus, they are not the proper subject of a bill of
particulars. Moreover, even if they were, Rule 7(f) provides that “[t]he government
may amend a bill of particulars subject to such conditions as justice requires.” Fed.
R. Crim. P. 7(f). Accordingly, Williams is not entitled to the specific relief requested
in her reply. However, if the government plans to present any evidence that
deviates from the representations made in its response to the motion for a bill of
particulars regarding the location of the charged offenses, the victim of the extortion,
traffic stops, or sexual propositions involving the confidential informant, it shall
provide Williams written notice amending its response by specifying the change in
facts or circumstances that differ from its response as soon as practicable, but not
less than one week prior to trial.

                                          46
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 47 of 53




offered and/or provided to said informants in exchange for their cooperation in this

case.” [Id.]. Williams also requests all files and records relating to the confidential

informants, including the case file, the pedigree file, contracts with any agency,

payment records, contact and surveillance logs, and polygraph results. [Id. at 7-8].

In the alternative, Williams asks that the government be required to “reveal the

number of confidential informants/participants used in its investigation, the specific

information they provided in regards to their knowledge of the alleged drug

trafficking and any information provided by them regarding [Williams] in any form,

any plea agreements or other promises of reward the informants/participants were

offered in exchange for the information provided, and any impeachment

information known by the government regarding its informants,” [id. at 9], and she

also asks that this Court conduct an in camera hearing to determine whether she is

entitled to the aforementioned information pertaining to the confidential informants,

[id. at 10-11]. Williams contends that the informants’ participation in this case

makes them more than “mere tipsters” and that disclosure of their identities is

required under Roviaro v. United States, 353 U.S. 53 (1957). [Id. at 3-5].

      The government opposes the motion, arguing that while Williams’ references

confidential informants in her motion, “this case derives from an operation

conducted by the [FBI] in which a single confidential human source (the ‘CHS’),

posing as a high-level drug trafficker, paid cash bribes to the defendants to transport


                                          47
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 48 of 53




and deliver narcotics to the Northern District of Georgia.”17 [Doc. 399 at 4]. The

government asserts that the Roviaro balancing test does not apply because it intends

to call the confidential informant as a witness if this case proceeds to trial, and it has

agreed to disclose the confidential informant’s identity at least one week before trial.

[Id. at 6-9]. It further asserts that, even if Roviaro does apply, Williams has failed to

show how the confidential informant’s probable testimony would aid her defense,

and even if she could make such a showing, the government’s interest in ensuring


      17
          The government asserts that “the covert audio and video evidence makes
clear, it was the same CHS[, identified as CHS 21959 in the discovery,] who
conducted each and every transaction forming the basis of each count in the
indictment,” and that the “‘other drug traffickers’ with whom the CHS was
supposedly working are non-existent.” [Doc. 399 at 6 n.3]. The government
acknowledges in its response that there was “one early deal, on September 18, 2014,
that involved a second female CHS (identified as ‘CHS 35535’ in the discovery) who
was involved with the main CHS,” but the government points out that “the female
CHS’s role was minor and involved a transaction (Counts 7 and 8) preceding []
Williams’[] involvement in this case.” [Id. at 6-7 n.3]. Williams references an
“individual or individuals caught with contraband in the prison system who
initially informed the government that he/she/they were utilizing correctional
officers to transport contraband to, and/or bring contraband inside, the walls of the
institutions.” [Doc. 279 at 2]; see also [id. at 5]. However, “this source related to
conduct (Count one) that is [likewise] unrelated to [] Williams.” [Doc. 399 at 7 n.3].
While Williams alleges that this information goes “directly to an entrapment
defense,” [Doc. 279 at 6], as stated, whether Williams is entitled to raise an
entrapment defense is an improper consideration at this point in the proceeding.
See Leiva-Portillo, 2007 WL 1706351, at *5 (citations omitted) (“[U]ntil a defense is
properly raised, a trial court is not required to conduct an in camera hearing, compel
the [g]overnment to disclose the identity of an informant, or permit access to the
informant.”). “Regardless, [the government states that] these two other minor
CHS’s will also be called as witnesses at trial if the defendants to whom their
testimony relates end up going to trial, so any questions regarding these topics may
be asked of them then.” [Doc. 399 at 7 n.3].

                                           48
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 49 of 53




witness safety outweighs Williams’ interests in disclosure of the confidential

informant’s identity. [Id. at 9-11].

      “The Government has a limited privilege to withhold the identity of a

confidential informant.” United States v. Najera-Perez, Civil Action No. 1:12-CR-

232-2-CAP, 2014 WL 888651, at *26 (N.D. Ga. Mar. 6, 2014), adopted at *1 (citing

Roviaro, 353 U.S. at 60-61; United States v. Flores, 572 F.3d 1254, 1265 (11th Cir. 2009)

(per curiam)). In Roviaro, the Supreme Court held that “[w]here the disclosure of

a confidential informer’s identity or of the contents of his communication, is relevant

and helpful to the defense of an accused, or is essential to the fair determination of

a cause, the privilege must give way.” Id. (alteration in original) (internal quotations

omitted) (quoting Flores, 572 F.3d at 1265). “Courts analyzing Roviaro, however,

have determined that the holdings of Roviaro do not apply when the informants will

testify at trial.” Id. “As indicated in subsequent Supreme Court precedent, ‘[t]he

issue of evidentiary law in Roviaro was whether (or when) the Government is

obliged to reveal the identity of an undercover informer the Government does not call

as a trial witness.’” Id. (alteration in original) (quoting Banks v. Dretke, 540 U.S. 668,

697 (2004)). Thus, Roviaro is not applicable to this case since the government has

indicated that it intends to call the confidential informant as a witness during the

trial and will disclose the identity of the informant at least one week prior to the trial




                                           49
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 50 of 53




and provide any related Jencks Act, Brady18, and Giglio19 materials related to the

confidential informant. See id. (citations omitted); see also United States v. Pineda,

Criminal Case No. 1:11-CR-00006-CAP-JFK, 2012 WL 2906758, at *44-46 (N.D. Ga.

June 4, 2012), adopted by 2012 WL 2907447, at *1 (N.D. Ga. July 16, 2012); United

States v. Elder, Criminal Action File No. 1:10-CR-132-RWS/AJB, 2010 WL 5656687,

at *6-7 (N.D. Ga. Dec. 16, 2010), adopted in part by 2011 WL 294507, at *7 (N.D. Ga.

Jan. 27, 2011).

      “Because Roviaro does not require disclosure of the informant[’s] identi[ty]

and information at this juncture, [Williams] cannot access this information unless

some other authority requires early production of this information.” Najera-Perez,

2014 WL 888651, at *27. The government has agreed to disclose the confidential

informant’s identity and provide Jencks Act, Brady,20 and Giglio information at least

one week before trial, “thereby alleviating the concerns raised by the Supreme Court

in Roviaro.” Id. (citation omitted). Moreover, Brady and Giglio do not support

Williams’ demand for immediate disclosure of the confidential informant’s identity

and impeaching information because such materials “only must be disclosed in time

for it to be put to effective use in cross examining witnesses at trial.” Id. at *28

      18
           Brady v. Maryland, 373 U.S. 83 (1963).
      19
           Giglio v. United States, 405 U.S. 150 (1972).
      20
        The government asserts that it is “currently in compliance with Brady, and
will remain so throughout the remainder of this case.” [Doc. 399 at 9 n.5].

                                            50
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 51 of 53




(citing Flores v. Satz, 137 F.3d 1275, 1278-79 (11th Cir. 1998) (per curiam); United

States v. Bailey, 123 F.3d 1381, 1399-1400 (11th Cir. 1997); United States v. Bueno-

Sierra, 99 F.3d 375, 379 (11th Cir. 1996) (per curiam); Pineda, 2012 WL 2906758, at

*45). “Time after time, the Eleventh Circuit has concluded that there was no

constitutional violation even when Brady or Giglio materials are supplied after the

start of the trial.” Id. (citing Bailey, 123 F.3d at 1399-1400; Bueno-Sierra, 99 F.3d at

379; United States v. Burroughs, 830 F.2d 1574, 1578-79 (11th Cir. 1987)).

      “The principles of law espoused in Brady and Giglio do not otherwise provide,

however, a defendant with a constitutional right to discovery in a criminal case.”

Id. at *27 (citation omitted). “The Government does not have a general duty to

disclose a list of its witnesses or information about those witnesses prior to trial.”

Id. (citing United States v. Johnson, 713 F.2d 654, 659 (11th Cir. 1983)). “Also, the

Federal Rules of Criminal Procedure do not ‘requir[e] the Government to supply

witness lists or witness statements until that witness has testified on direct

examination, unless such information is required sooner by Brady or Giglio.’” Id.

(alteration in original) (quoting Elder, 2010 WL 5656687, at *5). Moreover, despite

not being obligated to do so, since the government has agreed to disclose the

identity of the informant and provide any related Jencks Act, Brady, and Giglio

materials related to the confidential information as least one week prior to trial, the

Court finds that this production will allow Williams an adequate opportunity to


                                          51
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 52 of 53




prepare her defense.       See id. at *26; Pineda, 2012 WL 2906758, at *44-46.

Accordingly, Williams’ “Preliminary Motion to Reveal Confidential Informants and

To Disclose Any Deals or Agreements Offered in Exchange of Their Cooperation,”

[Doc. 279], is DENIED.21

                                 III. CONCLUSION

      For the foregoing reasons, Williams’ motion for a bill of particulars, [Doc. 278],

is GRANTED IN PART and DENIED IN PART, her motion to reveal confidential

informants, [Doc. 279], is DENIED, and her motion in limine and to sever, [Doc.

277], is DEFERRED to the District Judge, and it is RECOMMENDED that her

motions to dismiss counts 19, 21, and 23 and to dismiss the prosecution, [Docs. 276

& 295], be DENIED, and her alternative request to allow an entrapment defense is

DEFERRED to the District Judge.




      21
         In her motion to reveal confidential informants, Williams moves “for a bill
of particulars requiring the government, whether or not their identities are revealed,
to indicate exactly how many confidential informants were utilized with regard to
these twenty-five (25) defendants and which instances are attributable to each
particular person.” [Doc. 279 at 7]. Williams has not shown that the number of
informants and which instances are attributable to each person are necessary to
inform her of the charges against her “with sufficient precision to enable [her] to
prepare [her] defense or avoid surprise. Neither [are] they shown to be necessary
for pleading acquittal or conviction in bar of further prosecution for the same
offense,” United States v. Gorel, 622 F.2d 100, 104 (5th Cir. 1979), particularly in light
of the government’s response that only one confidential informant was involved in
the criminal acts alleged in the counts against Williams. Thus, Williams’ request is
due to be DENIED.

                                           52
    Case 3:16-cr-00003-TCB-RGV Document 455 Filed 10/19/16 Page 53 of 53




      There are no other pending matters before the Magistrate Judge, and the

undersigned is aware of no problems relating to the scheduling of this case, other

than as noted below.22

      IT IS THEREFORE ORDERED and ADJUDGED that this action be and the

same is hereby, certified Ready for Trial.

      IT IS SO ORDERED and RECOMMENDED, this 19th day of October, 2016.



                                       RUSSELL G. VINEYARD
                                       UNITED STATES MAGISTRATE JUDGE




      22
         Counsel for defendant Chelsey Mayweather was allowed to withdraw
today, see [Doc. 453], and attorney Vernon Smith, who previously was appointed
to represent her, [Doc. 152], will be reappointed as her counsel, [Doc. 453]. Counsel
for four other defendants, Travonne Ferrell, Jeremy Fluellen, Charisma Glenn, and
Tramaine Tucker, have indicated that they are not prepared to proceed to trial at this
time, but in the absence of any pending motions from these defendants, this case is
certified as ready for trial as to all defendants.

                                         53
